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            IN THE UNITED STATES DISTRICT COURT FOR THE
                    SOUTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

SAMUEL K. ROUSE,                     *
                                     *
      Plaintiff,                     *
                                     *
vs.                                  * CIVIL ACTION No. 04-00040-P-B
                                     *
JO ANNE B. BARNHART,                 *
Commissioner of Social               *
Security,                            *
                                     *
      Defendant.                     *

                      REPORT AND RECOMMENDATION

      This matter is before the Court on Plaintiff's Motion for

Attorney's Fees, and supporting memorandum (Docs. 32 & 33).

This action was referred to the undersigned Magistrate Judge for

report and recommendation pursuant to 28 U.S.C. § 636(b)(1)(B)

and Local Rule 72.2(c)(3).       Upon consideration of the pertinent

pleadings, it is the recommendation of the undersigned that

Plaintiff should receive a reasonable attorney's fee in the

amount of $1,762.50.

I.    Findings Of Fact

      1.    Plaintiff commenced this action on January 16, 2004.

(Doc. 1).     On February 22, 2005, the Court entered Judgment

pursuant to sentence four of § 205(g) of the Social Security

Act, 42 U.S.C. § 405(g), and remanded this cause to afford the

Commissioner of Social Security an opportunity to locate missing

documents and thereby provide an accurate and complete record.
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(Doc. 31).

       2.     Plaintiff filed the instant motion for attorney's fees

on May 23, 2005.            (Docs. 32 & 33).          In the motion, Plaintiff

requests an attorney's fee award of $3,079.60.                              (Id.)     The

attorney's fee award represents a total of 20 hours, at an

hourly rate of $153.98 per hour, for time spent representing

Plaintiff in this Court.            (Id.)

       3.     The Commissioner of Social Security filed a Response

to Plaintiff's motion on June 13, 2005, wherein she objects to

both    the     requested      hourly   rate      and     the    number       of    hours

submitted.       (Doc. 35).

II.    Conclusions Of Law

       The U.S. Supreme Court has indicated that "the most useful

starting point for determining the amount of a reasonable fee is

the    number    of    hours   reasonably        expended       on    the   litigation

multiplied by a reasonable hourly rate."                    Watford v. Heckler,

765    F.2d   1562,     1568    (11th   Cir.      1985)    (quoting         Hensley    v.

Eckerhart, 461 U.S. 424, 433 (1983)).                   See also Jean v. Nelson,

863    F.2d     759,    772-772     (11th      Cir.     1988)        (discussing      the

reasonableness         of    the   hours       expended    in        the    context    of

contentions by the government that the fee requests were not

supported       by    sufficient   documentation          and    often      involved    a

duplication of effort), aff'd sub nom, Commissioner, I.N.S. v.


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Jean, 496 U.S. 154 (1990).

      A.      EAJA Hourly Rate

      1.      The EAJA (as amended)1 provides, in relevant part, as

follows:

      The amount of fees awarded under this subsection shall
      be based upon prevailing market rates for the kind and
      quality of the services furnished, except that . . .
      attorneys fees shall not be awarded in excess of
      $125.00 per hour unless the court determines that an
      increase in the cost of living or a special factor,
      such as the limited availability of qualified
      attorneys for the proceedings involved, justifies a
      higher fee.

28 U.S.C. § 2412(d)(2)(A) (emphasis added.)

      2.      In Meyer v. Sullivan, 958 F.2d 1029 (11th Cir. 1992),

the Eleventh Circuit determined that the EAJA establishes a two-

step analysis for determining the appropriate hourly rate to be

applied in calculating attorneys fees under the Act:

      The first step in the analysis, . . . is to determine
      the market rate for “similar services [provided] by
      lawyers of reasonably comparable skills, experience,
      and reputation.” . . . The second step, which is
      needed only if the market rate is greater than
      [$125.00] per hour, is to determine whether the court
      should adjust the hourly fee upward from [$125.00] to
      take into account an increase in the cost of living,
      or a special factor.

Id. at 1033-1034 (citations and footnote omitted).


      1
        On March 29, 1996, the EAJA was amended so as to increase the statutory
cap on EAJA fees from $75.00 per hour to $125.00 per hour. See, e.g, Ikner v.
Apfel, 2000 WL 1844704, *2 n.1 (S.D. Ala. Nov. 9, 2000). These amendments
apply to civil actions commenced on or after the date of enactment; therefore,
the statutory cap of $125.00 per hour applies in this present action.

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      3.      Although Plaintiff argues that an increase in the cost

of living has occurred thus justifying a 23% fee increase, he

has cited no cases from this district in which a fee in excess

of the $125.00 cap was awarded.                    Moreover, the Court's own

research has revealed that $125.00 per hour is the going rate in

this District for social security awards.                    See, e.g., Boone v.

Apfel, CV 99-0965-CB-L (August 20, 2001) (adopted Magistrate

Judge's recommendation that the prevailing market rate be raised

from $117.00 to the EAJA cap of $125.00); Willits v. Massanari,

CV 00-0530-RV-C (same); and Boggs v. Massanari, CV 00-0408-P-C

(same).

      4.      While the district court has authority to increase the

fee, it is not required to do so.2              Id.; Hall v. Shalala, 50 F.3d

367, 369 (5th Cir. 1995), aff'd., 50 F.3d 367, reh'g den., 62.

F.3d 398 (5th Cir. 1995).             As aptly noted by the Fifth Circuit,

the   statutory      cap    serves     to   "ensure     an    adequate        source   of

representation" and to minimize the cost of representation to

tax payers - the dual purposes of the EAJA.                        Id. at 369-370.

Based on the record before the Court, the undersigned finds that

the requested 23% fee increase is not justified, and that the



      2
        See also Pierce v. Underwood, 487 U.S. 552, 571-572 (1987) (holding
that Congress determined that $125.00 per hour is "quite enough" public
reimbursement for Social Security counsel under EAJA); and Waller v.
Commissioner of Social Security, CV 01-0253-BH-L (Jan. 21, 2003).

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current $125.00 rate is adequately ensuring that the purposes of

the EAJA are met.          Accordingly, the undersigned recommends a

hourly rate of $125.00.

      B.    Reasonableness of Hours

      5.    The undersigned must also determine the reasonableness

of   the   hours   claimed    by   Plaintiff's    attorney,    Ms.    Rose   A.

McPhillips, Esq., in light of Defendant's contention that the

requested 20 hours of time "is excessive in light of the brevity

and small number of pleadings Plaintiff filed in this matter[]"

and that only 13.8 of the hours should be compensated.                (Doc. 35

at 5).      Specifically, Defendant opposes Plaintiff's counsel

being compensated for 5.9 hours spent preparing an initial

summarization of the record and beginning to draft Plaintiff's

proposed report and recommendation, because "she should have

known, based on her itemization, that the record was incomplete

when she received and reviewed it [for some 1.8 hours] on

November 27, 2004."        (Id.)    Defendant also opposes Plaintiff's

counsel being compensated for 1.3 hours spent preparing the EAJA

petition, because this Court typically awards 1.0 hour for

preparation    of    the     fee   petition,     and   in   this     instance,

Plaintiff's counsel "used a modified version of a brief that has

been used and awarded time in other EAJA petitions in this

Court[]" and as such, should not be compensated for the .3

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hours.     (Id.)

    6.       In the case sub judice, attached to Plaintiff’s motion,

is a time sheet detailing the description of work performed, the

time expended and the date on which the work was performed.

(Doc. 32 at Attachment 2).             The undersigned has reviewed the

pleadings of the parties and the itemization and finds that some

of times attributed to the task are due to be reduced.

    7.       First, the undersigned agrees with Defendant's claim

that Plaintiff's counsel should not be compensated for 5.9 hours

of time spent preparing an initial summarization of the records

(2.7 hours) and beginning to draft the proposed report                         and

recommendation (3.2 hours).            (Doc. 35 at 2).      Based on the time

sheet,     it    is    clear    that   Plaintiff's    counsel       had   already

completed an initial review of the transcript before commencing

these two tasks.          Thus, this initial review should have alerted

Plaintiff's counsel to the fact that various standard documents

were missing from the transcript.             Accordingly, the additional

5.9 hours spent summarizing the records and working on the

proposed        report    and   recommendation     should      be   deducted    as

unreasonable.

    8.       Second, Defendant's claim that Plaintiff's counsel

should     not    be     compensated   for   .3   hours   of    the   1.3   hours

submitted for preparation of Plaintiff's EAJA documentation is


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without merit. (Doc. 35 at 5).         The undersigned has compared the

motion and brief filed by Plaintiff's counsel in the present

case to other motions and briefs she has filed in different

cases, such as in Goodman v. Barnhart, CV-03-00669-C, and is

satisfied that the arguments have been sufficiently altered.

Accordingly, the undersigned recommends that the 1.3 hours of

attorney work, listed as preparing EAJA documentation on May 21,

2005, be included in the total number of hours.

    9.       In sum, under the circumstances and given the usual

number of hours billed by attorneys in similar actions, the

undersigned recommends a total reduction of time of 5.9 hours

such that Plaintiff's counsel is entitled to 14.1 hours of

attorney time expended representing Plaintiff in federal court.

See, e.g., Coleman v. Apfel, 2000 WL 1367992 (S.D. Ala. Aug. 30,

2000).

    10.      Based upon the foregoing, Plaintiff should be awarded

an attorney's fee in the amount of $1,762.50, based upon the

EAJA statutory cap and prevailing market rate of $125.00 for the

14.1 hours his attorney spent performing work traditionally

performed by attorneys in social security cases.

III. CONCLUSION

    Therefore, upon consideration of the pertinent pleadings,

the undersigned Magistrate Judge RECOMMENDS that Plaintiff’s


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Motion for Attorney's Fees Pursuant to the Equal Access to

Justice Act be DENIED in part and GRANTED in part, as follows:

the EAJA award should be limited to the EAJA rate of $125.00 per

hour,   thereby    resulting    in   an   award   of   $1,726.50   for   14.1

attorney hours spent representing Plaintiff in connection with

this action.

    The attached sheet contains important information regarding

objections to the undersigned's report and recommendation.

    DONE this 23rd day of November, 2005.


                                         /s/ Sonja F. Bivins
                                     UNITED STATES MAGISTRATE JUDGE




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     MAGISTRATE JUDGE’S EXPLANATION OF PROCEDURAL RIGHTS
        AND RESPONSIBILITIES FOLLOWING RECOMMENDATION
         AND FINDINGS CONCERNING NEED FOR TRANSCRIPT

1.   Objection. Any party who objects to this recommendation or
anything in it must, within ten days of the date of service of
this document, file specific written objections with the clerk
of court. Failure to do so will bar a de novo determination by
the district judge of anything in the recommendation and will
bar an attack, on appeal, of the factual findings of the
magistrate judge. See 28 U.S.C. § 636(b)(1)©); Lewis v. Smith,
855 F.2d 736, 738 (11th Cir. 1988).         The procedure for
challenging the findings and recommendations of the magistrate
judge is set out in more detail in SD ALA LR 72.4 (June 1,
1997), which provides, in part, that:

    A party may object to a recommendation entered by a
    magistrate judge in a dispositive matter, that is, a
    matter excepted by 28 U.S.C. § 636(b)(1)(A), by filing
    a “Statement of Objection to Magistrate Judge’s
    Recommendation” within ten days after being served
    with a copy of the recommendation, unless a different
    time is established by order.       The statement of
    objection shall specify those portions of the
    recommendation to which objection is made and the
    basis for the objection.    The objecting party shall
    submit to the district judge, at the time of filing
    the objection, a brief setting forth the party’s
    arguments that the magistrate judge’s recommendation
    should be reviewed de novo and a different disposition
    made. It is insufficient to submit only a copy of the
    original brief submitted to the magistrate judge,
    although a copy of the original brief may be submitted
    or referred to and incorporated into the brief in
    support of the objection. Failure to submit a brief
    in support of the objection may be deemed an
    abandonment of the objection.

     A magistrate judge’s recommendation cannot be appealed to
a Court of Appeals; only the district judge’s order or judgment
can be appealed.

2.   Opposing party’s response to the objection. Any opposing
party may submit a brief opposing the objection within ten (10)
days of being served with a copy of the statement of objection.
Fed. R. Civ. P. 72; SD ALA LR 72.4(b).
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3.   Transcript (applicable where proceedings tape recorded).
Pursuant to 28 U.S.C. § 1915 and Fed.R.Civ.P. 72(b), the
magistrate judge finds that the tapes and original records in
this action are adequate for purposes of review.      Any party
planning to object to this recommendation, but unable to pay the
fee for a transcript, is advised that a judicial determination
that transcription is necessary is required before the United
States will pay the cost of the transcript.

                                        /s/ SONJA F. BIVINS
                                       UNITED STATES MAGISTRATE JUDGE
